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UNITED srATEs DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE 55 §E-fi`;' -§ pitt 5= 55
WESTERN DIVISION
ANDRE TURNER, )
)
Piaimiff, )
)
v. ) CASE No. 03-cv-2958-Ma/P

)
CoCA-COLA BOTTLING CoMPANY )
oF MEMPHIS, )
)
Det`endant. )
)
0RDER

Before the Court is Defendant’s motion to refer the instant case to mediation, pursuant to
Local Rule ]6.1(@). After a full consideration of the motion, it is hereby

ORDERED that Defendant’s motion is GRANTED. This matter is hereby referred to
Magistrate Judge Tu M. Pham for mediation on May 6, 2005, or at such other date as the parties

and Magistrate Judge Pham shall agree

This ‘:Eg\dayof l 211 ,2005.

  

U. . DISTRICT IUDGB
UEL H. MAYS, JR.

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Honorable Samuel Mays
US DISTRICT COURT

